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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

BAOYANG CHEN,                                     :    CASE NO. 1:17-cv-00460-MRB
                                                       Judge Michael R. Barrett
                Plaintiff,                        :    Magistrate Judge Stephanie K. Bowman

         v.                                       :
                                                       PLAINTIFF’S NOTICE OF FILING
GSC OPPORTUNITIES, LP, et al.,                    :    PROPOSED JOINT DISCOVERY
                                                       PLAN
                Defendant.                        :


         Now comes Plaintiff Baoyang Chen and hereby gives notice that it is filing the proposed

joint discovery plan that was discussed with Defendant Gold Star Chili, Inc. (“Gold Star”) on

April 4, 2024, and submitted to Gold Star on April 11, 2024. Gold Star has not responded, but

Plaintiff doubts that Gold Star will have any objection based on the April 4, 2024 call to discuss

the plan. A copy of the plan is attached.

                                                      Respectfully submitted,


                                                      /s/ Christopher D. Cathey
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document was served this
   th
11 day of April 2024 upon the following counsel of record by electronic mail and filed via the
Court’s CM/ECF filing system:

Paul T. Saba (0063723)
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Attorneys for Defendant Gold Star Chili, Inc.


                                                    /s/ Christopher D. Cathey
                                                    Christopher D. Cathey (0071231)




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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

BAOYANG CHEN,                                       :    CASE NO. 1:17-cv-00460-MRB
                                                         Judge Michael R. Barrett
                Plaintiff,                          :    Magistrate Judge Stephanie K. Bowman

         v.                                         :
                                                         JOINT DISCOVERY PLAN
GSC OPPORTUNITIES, LP, et al.,                      :    (RULE 26(f) REPORT)
                                                         (REQUIRED FORM)
                Defendant.                          :


         Now come all parties to this case, by and through their respective counsel, and hereby

jointly submit to the Court this Joint Discovery Plan, pursuant to the Court’s Trial Procedure

Order. The parties conducted their discovery conference on April 4, 2024.

A.       MAGISTRATE CONSENT

         The Parties:

         □      unanimously consent to the jurisdiction of the United States Magistrate Judge
                pursuant to 28 U.S.C. § 636(c).

               do not unanimously consent to the jurisdiction of the United States Magistrate
                Judge pursuant to 28 U.S.C. § 636(c).

         □      unanimously give contingent consent to the jurisdiction of the United States
                Magistrate Judge pursuant to 28 U.S.C. § 636(c), for trial purposes only, in the
                event that the District Judge assigned is unavailable on the date set for trial (e.g.
                because of other trial settings, civil or criminal).




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B.       RULE 26(a) DISCLOSURES

         □      The parties have exchanged pre-discovery disclosures required by Rule 26(a)(1).

               The parties will exchange such disclosures by April 25, 2024.

         □      The parties are exempt from disclosures under Rule 26(a)(1)(E).

         NOTE: Rule 26(a) disclosures are not to be filed with the Court.

C.       DISCOVERY ISSUES AND DATES

         1.     Discovery will need to be conducted on the issues of

                All matters raised in the pleadings, including Plaintiff’s investment in GSC
                Opportunities, LP, Plaintiff’s alleged damages, and Defendants’ defenses.

         2.     The parties recommend that discovery

                      need not be bifurcated

                □      should be bifurcated between liability and damages

                □      should be bifurcated between factual and expert

                □      should be limited in some fashion or focused upon particular issues which
                       relate to

         3.     Disclosure and report of Plaintiff(s) expert(s) by June 30, 2024.

         4.     Disclosure and report of Defendant(s) expert(s) by September 30, 2024.

         5.     Disclosure and report of rebuttal expert(s) by November 30, 2024.

         6.     Disclosure of non-expert (fact) witnesses May 15, 2024.

         7.     Discovery cutoff October 4, 2024.

         8.     Anticipated discovery problems

                      Travel restrictions for plaintiff because he resides in China; although any
                       deposition could take place via Zoom or similar video platform. Also,
                       plaintiff does not speak English so an interpreter will be needed.

                □      None.




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        9.       Describe the subjects on which discovery is sought and the nature, extent and
scope of discovery that each party needs to: (1) make a settlement evaluation; (2) prepare for
case dispositive motions, and (3) prepare for trial:
All matters raised in the pleadings, including Plaintiff’s investment in GSC Opportunities, LP,
Plaintiff’s alleged damages, and Defendants’ defenses. Financial records of Defendants will
need to be discovered and depositions of all parties, their agents and/or associates and any third
parties that have information relevant to the claims and defenses set forth in the pleadings.

       10.      Discovery of Electronically Stored Information. The parties have discussed
disclosure, discovery, and preservation of electronically stored information, including the form
or forms in which it should be produced.

                    Yes

              X     No

         i.       The parties have electronically stored information in the following formats:

                  pdf, pst, tif, xlsx, doc



       ii.     The case presents the following issues relating to disclosure, discovery, or
preservation of electronically stored information, including the form or forms in which it should
be produced:




        11.     Claims of Privilege or Protection. The parties have discussed issues regarding the
protection of information by a privilege or the work product doctrine, including whether the
parties agree to a procedure to assert these claims after production or have any other agreements
under Fed. R. Evid. 502.

                    Yes

              X     No

         i. The case presents the following issues relating to claims of privilege or of protection as
trial preparation materials:

                    None at this time



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ii.      Have the parties agreed on a procedure to assert such claims AFTER production?

                    Yes

            X       No

                Yes, and the parties ask that the Court include the following agreement in the
scheduling order:




D.       LIMITATIONS ON DISCOVERY

         1.     Changes in the limitations on discovery

                □         Extension of time limitations (currently one day of seven hours) in taking
                          of depositions to                        .

                □         Extension of number of depositions (currently 10) permitted to
                                                    .

                □         Extension of number of interrogatories (currently 25) to              .

                □         Other:                                                                .

                         None.

E.       PROTECTIVE ORDER

                         A protective order will likely be submitted to the Court on or before
                          April 30, 2024              .
                □         The parties currently do not anticipate the need for a protective order. If
                          the parties subsequently deem that one is necessary, they will submit a
                          joint proposed order to the Court. Such order will be in compliance with
                          Procter & Gamble Co. v. Bankers Trust Co., 78 F. 3d 219 (6th Cir. 1996).

F.       SETTLEMENT

         A settlement demand        X   has             has not been made.

         A response       X   has             has not been made.

         A demand can be made by April 30, 2024.

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         A response can be made by May 31, 2024.

G.       MOTION DEADLINES

      1. Motion to amend the pleadings and/or add parties by N/A.

      2. Motions relative to the pleadings by N/A.

      3. Dispositive motions by December 15, 2024.

H.       OTHER MATTERS PERTINENT TO MANAGEMENT OF THIS LITIGATION

None at this time.




Respectfully submitted,

     /s/ Christopher D. Cathey
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